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                                      UNPUBLISHED

                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


                                       No. 20-1396


BRIAN DAVID HILL,

                    Plaintiff - Appellant,

             v.

GLEN ANDREW HALL, ESQ., in his official capacity, Commonwealth Attorney
of Martinsville, Virginia; GILES CARTER GREER, ESQ., Judge of Martinsville
Circuit Court, in his official capacity; MATTHEW SCOTT THOMAS CLARK,
ESQ., Attorney, in his official capacity; LAUREN MCGARRY, ESQ., Martinsville
Public Defender Office, in her official capacity,

                    Defendants - Appellees.



Appeal from the United States District Court for the Western District of Virginia, at
Danville. Jackson L. Kiser, Senior District Judge. (4:20-cv-00017-JLK)


Submitted: June 18, 2020                                          Decided: June 23, 2020


Before FLOYD, THACKER, and RUSHING, Circuit Judges.


Affirmed by unpublished per curiam opinion.


Brian David Hill, Appellant Pro Se.


Unpublished opinions are not binding precedent in this circuit.
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PER CURIAM:

      Brian David Hill appeals the district court’s order dismissing his civil action. We

have reviewed the record and find no reversible error. Accordingly, we affirm for the

reasons stated by the district court. Hill v. Hall, No. 4:20-cv-00017-JLK (W.D. Va.

Mar. 30, 2020). We dispense with oral argument because the facts and legal contentions

are adequately presented in the materials before this court and argument would not aid the

decisional process.

                                                                             AFFIRMED




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